      Case 3:16-md-02741-VC           Document 20621         Filed 05/16/25      Page 1 of 2




                             UNITED STATES DISTRICT COURT

                           NORTHERN DISTRICT OF CALIFORNIA


   IN RE: ROUNDUP PRODUCTS                          MDL No. 2741
   LIABILITY LITIGATION
                                                    Case No. 16-md-02741-VC


   This document relates to:                        ORDER GRANTING MOTION FOR
                                                    LEAVE TO FILE MOTION FOR
   Abel et al. v. Monsanto Co.,                     RECONSIDERATION
   Case No. 3:21-cv-07124-VC
                                                    Re: Dkt. No. 20472


        The request for leave to file a motion for reconsideration of the Court’s Pretrial Order No.

314—insofar as it granted Monsanto’s motion to exclude plaintiffs’ expert Dr. Khaleel Ashraf’s

report regarding the above captioned matter—is granted. The brief filed by plaintiffs in support

of that request is deemed the motion for reconsideration. Monsanto is ordered to file a response

to plaintiffs’ motion for reconsideration within 7 days. Plaintiffs may file a reply 7 days

thereafter.

        The Court is tentatively inclined to think that the failure to meaningfully consider Abel’s

weight is not enough, on its own, to exclude Ashraf’s opinion. However, with many of the

experts excluded in Wave 7 cases, the Court did not discuss each flaw in each expert’s opinion.

Therefore, in addition to addressing Ashraf’s treatment of Abel’s weight, Monsanto should flag

any other serious issues it believes exist with Ashraf’s opinion, such as whether he’s qualified to

offer a specific causation opinion or his treatment of genetic mutations (to the extent Abel had

such mutations). Monsanto’s response may not exceed 15 pages, and plaintiffs’ reply may not

exceed 10 pages.
     Case 3:16-md-02741-VC   Document 20621   Filed 05/16/25   Page 2 of 2




      IT IS SO ORDERED.

Dated: May 16, 2025
                                  ______________________________________
                                  VINCE CHHABRIA
                                  United States District Judge




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